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                     EXHIBIT D
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                                                                          1


  1                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
  2                            SHERMAN DIVISION




                                                                          L
  3   UNITED STATES OF AMERICA,                 §
                                                §




                                                                IA
  4                    Plaintiff,               §    Case No.:
                                                §    4:11-cr-00079-15
  5        vs.                                  §
                                                §    Volume 1




                                                    ER
  6   HUGO CESAR ROMAN-CHAVARRIA,               §    Page 1 - 293
                                                §
  7                    Defendant.               §

  8




                                          AT
  9                    TRANSCRIPT OF SENTENCING HEARING
                     BEFORE THE HONORABLE SEAN D. ORDAN
 10                     UNITED STATES DISTRICT JUDGE

 11                 Wednesday, August 4 2021; 9:05 a.m.

 12

 13   APPEARANCES OF COUNSEL:
                                   M
                                Plano, Texas
                          D
 14   FOR THE UNITED STATES:
     TE

 15    Ernest Gonzalez
       Colleen Elizabeth Bloss
 16    U.S. ATTORNEY'S OFFICE - Plano
       101 East Park Boulevard Suite 500
 17    Plano, Texas 75074
    C



 18   FOR THE DEFENDANT:
 TE




 19    Micah Shawn Belden
       MICAH BELDEN
 20    711 N Travis
       Sherman, Texas 75090
 21
 O




 22              *****************************************
PR




 23                          GAYLE WEAR, RPR, CRR
                        Federal Official Court Reporter
 24                            7940 Preston Road
                              Plano, Texas 75024
 25                              214.872.4867




                                 JMGV00000030
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                                                                          2


  1   ALSO PRESENT:

  2   Agent Richard Clough
      Agent Daniel Padilla




                                                                          L
  3   Patrick Madrigal, Litigation Tech




                                                                IA
  4   Patricia Doerr, Legal Assistant
      Gilberto Torrez, Investigator
  5
      Nikki Gray, Probation




                                                    ER
  6   Courtney Matheny, Probation

  7

  8                                 *    *      *




                                          AT
  9

 10

 11

 12

 13
                                   M
                          D
 14
     TE

 15

 16

 17
    C



 18
 TE




 19

 20

 21
 O




 22
PR




 23

 24

 25




                                 JMGV00000031
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                                                                          212


  1

  2




                                                                          L
  3




                                                                IA
  4

  5




                                                    ER
  6

  7

  8




                                          AT
  9

 10

 11

 12

 13
                                   M
                          D
 14
     TE

 15

 16

 17
    C



 18
 TE




 19               The government can call its next witness.

 20               MR. GONZALEZ:     The government calls -- the

 21   government calls Jose Maria Guizar Valencia.
 O




 22               (Pause in the proceedings.)
PR




 23               THE COURT:    Let's have Mr. Guizar Valencia sworn.

 24                             (Witness sworn.)

 25               THE COURT:    You can be seated.




                                 JMGV00000032
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                                                                          213


  1                 Mr. Gonzalez, you can begin when you're ready.

  2                 MR. GONZALEZ:   Thank you, Your Honor.




                                                                          L
  3                       JOSE MARIA GUIZAR VALENCIA,




                                                                IA
  4        first having been duly sworn by the courtroom deputy

  5                     testifies under oath as follows:




                                                    ER
  6                            DIRECT EXAMINATION

  7   BY MR. GONZALEZ:

  8   Q.     Sir, would you please state your full name for the




                                          AT
  9   Court and the record.

 10   A.     Jose Maria Guizar Valencia.

 11   Q.     Do you go by any other name?       Or do you have any

 12

 13
      aliases?

      A.
                                    M
             Carlos and Zeta -- Z-43.
                           D
 14   Q.     Are you also known as Carlitos, Carlos or Z-43?
     TE

 15   A.     Excuse me?

 16   Q.     Are you also known as Carlitos, Carlos, or Z-43?

 17   A.     Yes.
    C



 18   Q.     And you are a high-ranking member of the Zeta cartel.
 TE




 19   A      Yes, I am.

 20   Q.     And were you in fact in the top tier of the Zeta

 21   cartel?
 O




 22   A.     Yes.
PR




 23   Q.     And in regards to your position in the Zeta cartel, you

 24   were in the top tier along with Heriberto Lazcano Lazcano,

 25   Miguel Trevino, Omar Trevino, and Ivan Velasquez Caballero;




                                 JMGV00000033
      Case 1:16-cr-00065-BAH Document 179-1 Filed 07/07/23 Page 6 of 47
                                                                          214


  1   correct?

  2   A.     Yes, sir.




                                                                          L
  3   Q.     And you are a United States citizen?




                                                                IA
  4   A.     Yes, Your Honor.

  5   Q.     And you were -- what's the highest level of education




                                                    ER
  6   that you have attained?

  7   A.     High school.

  8   Q.     And you are pending charges here in th        Eastern




                                          AT
  9   District of Texas; correct?

 10   A.     Yes.

 11   Q.     What types of charges are you pending?

 12

 13
      A.
                                   M
             Well, it is my understanding that there's another

      proceeding in Laredo, Texas.
                          D
 14   Q.     So you have charges both in the Eastern District as
     TE

 15   well as the Southern District; correct?

 16   A.     Yes.

 17   Q.     And that's for the distribution of cocaine.
    C



 18   A.     Yes
 TE




 19   Q      How is it that you got involved in the distribution of

 20   cocaine?

 21   A.     After the death of my older brother, I moved to
 O




 22   Veracruz, and that's where I got involved with the Zetas.
PR




 23   Q.     When your brother passed away, was there a debt owed to

 24   the cartel?

 25   A.     Yes.   My older brother had a debt to a man known as La




                                 JMGV00000034
      Case 1:16-cr-00065-BAH Document 179-1 Filed 07/07/23 Page 7 of 47
                                                                          215


  1   Chispa.

  2   Q.       And because of that debt of your brother, you got




                                                                          L
  3   involved to try to pay off that debt.




                                                                IA
  4   A.       Yes.   I went to collect the debt, and that's when I

  5   started to get involved with the Zetas.




                                                    ER
  6   Q.       And again that's when Lazcano Lazcano was in charge of

  7   the Zetas.

  8   A.       That is true.




                                          AT
  9   Q.       And you became or you were given certain

 10   responsibilities in the Chiapas Gua emalan region.

 11   A.       Yes, sir.

 12

 13
      Q.

      A.
                                   M
               What responsibilities were you given?

               To buy all of the kilos of cocaine in Guatemala for the
                           D
 14   Zetas.
     TE

 15   Q.       And did you have other individuals working with you to

 16   accomplish that task?

 17   A.       Yes, William De Jesus Torres Solorzano.
    C



 18   Q.       And is that Comandante W.?
 TE




 19   A        That is true.

 20   Q.       What about Overdick?    Horst Overdick?

 21   A.       Overdick and other Guatemalans.
 O




 22   Q.       And were Comandante W. and Overdick purchasing all the
PR




 23   cocaine that made it to Guatemala in order to deliver it to

 24   you and the Zetas?

 25   A.       Yes.   They would send it to him at the border of




                                 JMGV00000035
      Case 1:16-cr-00065-BAH Document 179-1 Filed 07/07/23 Page 8 of 47
                                                                          216


  1   Coahuila with the United States.

  2   Q.       The drugs would arrive from Guatemala, and from there




                                                                          L
  3   would then be shipped to the border; correct?




                                                                IA
  4   A.       Yes, that's how it happened.

  5   Q.       And you were communicating directly with Miguel and




                                                    ER
  6   Omar Trevino?

  7   A.       Yes.    I was always with 40, in the same truck.

  8   Q.       And 40 is Miguel Trevino.




                                            AT
  9   A.       Miguel Trevino Morales, Z-40.

 10   Q.       And once you entered this organization, you became

 11   familiar with the structure; co rect?

 12

 13
      A.

      Q.
               Yes --
                                     M
               And you became familiar with the military camps that
                             D
 14   they operated.
     TE

 15   A.       -- with Lazcano, with 40, with 42.

 16   Q.       And you became familiar with the military camps they

 17   were operating; correct?
    C



 18   A.       Yes    yes.   Omar and 40 liked to go there and train.
 TE




 19   An   sinc      I was always with them, that's how I got involved

 20   in that.

 21   Q.       And you, yourself, attended these training camps?
 O




 22   A.       Yes.    I went to train with them, with all of them.
PR




 23   Q.       What kind of training did you receive at these camps?

 24   A.       Sniper shooting.     Getting out of trucks.    Breaching

 25   homes.    How not to crash against each other.       How to place




                                   JMGV00000036
      Case 1:16-cr-00065-BAH Document 179-1 Filed 07/07/23 Page 9 of 47
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  1   each other so that we wouldn't shoot each other.

  2   Q.     Was this live ammo training?




                                                                          L
  3   A.     Real ammo with R-15 and R -- AK-47s.




                                                                IA
  4   Q.     And when you say cuerno de chivo, are you referring to

  5   extended magazine ammunition?        Magazines?




                                                    ER
  6   A.     When I refer to cuerno de chivo, I mean AK-47s.

  7   Q.     So those were the firearms that were being used at

  8   these particular camps.      Where were those firearms being




                                          AT
  9   purchased?

 10   A.     Yes.    All those arms were supplied by Poncho Cuellar

 11   and the defendant that is sitting right here.

 12

 13
      Q.
                                   M
             And the defendant that is sitting right here, you said

      "Vecino," is that the name you know about?
                           D
 14   A.     Yes.    I met him in the State of Coahuila, the Cinco
     TE

 15   Manantiales.     It's a b rder on -- in Texas, Eagle Pass.

 16   Q.     And was the defendant that you've identified as Vecino,

 17   was he partners with Poncho Cuellar?
    C



 18   A.     Yes     He is a partner and right-hand man.       He is one of
 TE




 19   th   clos st people to him.      I can identify him very well.

 20   It's him.

 21   Q.     Now, we'll come back to the defendant here in a bit.
 O




 22                 So you worked closely with Comandante W. and
PR




 23   Overdick; correct?

 24   A.     Yes, that's true.

 25   Q.     And you had other people that were working beneath you




                                 JMGV00000037
      Case 1:16-cr-00065-BAH Document 179-1 Filed 07/07/23 Page 10 of 47
                                                                            218


  1   that you supervised.

  2   A.     Yes.




                                                                           L
  3   Q.     And in regards to the quantities of cocaine that were




                                                                IA
  4   being smuggled in from Guatemala, what quantities were

  5   Overdick and Comandante W. getting there in Guatemala?




                                                      ER
  6   A.     Between 1500 to 3,000 kilos.          I couldn't tell you

  7   around how often because it was -- it was a lot of work.

  8   Q.     And all of those drugs were being sent through the




                                          AT
  9   border for importation to the United S ates?

 10   A.     Yes.   A large portion of those wer         delivered.   The

 11   greater part of them were of th           better clients of

 12

 13   preferred ones, those ar
                                   M
      Omar Trevino and Zeta -- Z-42.        And since they were his

                                     the ones who got the most kilos.
                           D
 14   Q.     When you say they were the preferred ones, are you
     TE

 15   referring to the defendant and Mario Poncho Cuellar?

 16   A.     Poncho Cuellar and El Vecino.

 17   Q.     And they were the ones that were preferred by 40 and 42
    C



 18   because of the quantities that they were distributing.
 TE




 19   A      Because of the quantities.          Because they were the ones

 20   who were distributing the most drugs here in Texas.

 21   Q.     And you were present and you were with 40 and 42, so
 O




 22   you got to see that and hear that from them.
PR




 23   A.     Yes, of course.     And I saw it.

 24   Q.     Now, when the Zetas first started, they were the

 25   security arm for the Gulf cartel; correct?




                                 JMGV00000038
      Case 1:16-cr-00065-BAH Document 179-1 Filed 07/07/23 Page 11 of 47
                                                                           219


  1   A.     Yes.    They were the armed part of the Gulf, but they

  2   were the executioners.




                                                                           L
  3   Q.     And then they went off on their own and became their




                                                                IA
  4   own cartel.

  5   A.     Yes.    Lazcano opted to separate, and he made his own




                                                     ER
  6   cartel.

  7   Q.     And then that's when Miguel Trevino is elevated to

  8   being one of the top commanders.




                                          AT
  9   A.     Yes.    Actually, he became the top because Lazcano was

 10   already taken, and he took all the         rritory.

 11   Q.     So Lazcano may have been       he boss as a figurehead, but

 12

 13   A.
                                   M
      really Miguel Trevino operated the Zeta cartel.

             He was the one who gave the orders, who put people in
                           D
 14   charge and then took out people in charge.
     TE

 15   Q.     Okay.   And could anyone communicate with Miguel

 16   Trevino?    Or did you have to be pretty high up in the

 17   organization in order to do that?
    C



 18   A.     You had to have a place of honor to be able to speak
 TE




 19   wi h him

 20   Q.     And you indicated that initially they had put you in

 21   the Chiapas, Guatemala, area; correct?
 O




 22   A.     Yes.
PR




 23   Q.     And that was because of your contacts in Guatemala?

 24   A.     Yes.

 25   Q.     Were you familiar with the drug traffickers who were




                                 JMGV00000039
      Case 1:16-cr-00065-BAH Document 179-1 Filed 07/07/23 Page 12 of 47
                                                                           220


  1   operating in Guatemala when you first started there?

  2   A.      Yes, that's true.




                                                                           L
  3   Q.      Do you remember an individual by the name of "Juan Jose




                                                                IA
  4   Leon" or "Pacho Leon"?

  5   A.      Yes.   I met him in person.




                                                     ER
  6   Q.      Who is Poncho Leon?      Who is Juan Jose Leon, or Poncho

  7   Leon?

  8   A.      Poncho Leon was one of the top -- he w s the top narco




                                           AT
  9   trafficker in Guatemala in 2000 -- 2007         - 2005 to -- until

 10   the day he was killed in 2008.

 11   Q.      And who killed Poncho Leon?

 12

 13
      A.

      Q.
                                    M
              Miguel Angel Trevino Morales killed him personally.

              And were you there for that particular killing?
                           D
 14   A.      I went to one of the meetings because they were going
     TE

 15   to come up with a pric       f r -- a price for the kilos.      And in

 16   that meeting    Miguel stood up and killed him.

 17   Q.      So he had called the meeting with this other Guatemalan
    C



 18   narco to set a price.
 TE




 19   A       Yes.   It was a peaceful meeting to set a price.        And he

 20   changed his mind in the meeting and stood up and killed him.

 21   Q.      And you were present.
 O




 22   A.      Yes.
PR




 23   Q.      And after -- how many people were killed in that

 24   particular meeting?

 25   A.      Of ours, there were about seven.       And of theirs, about




                                  JMGV00000040
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                                                                            221


  1   twelve.

  2   Q.       And did you and Miguel Trevino have to go into hiding




                                                                           L
  3   for that reason?




                                                                IA
  4   A.       Yes, because the U.S. government knew that we were

  5   there and they knew that Miguel Angel Trevino Morales was




                                                     ER
  6   there.    So they knew that we were there.

  7   Q.       And having been in that area and worked in that area,

  8   were you also aware that Miguel Angel Trevin          had corrupted




                                          AT
  9   the government of Guatemala?        The president specifically?

 10   A.       Yes.   At the highest levels, even the president.

 11   Q.       And did Miguel Angel Trev no believe that he could kill

 12

 13   A.       Yes.
                                   M
      with impunity there in Guatemala?

                      He moved aro nd like a politician with armored
                           D
 14   vehicles and with a caravan.
     TE

 15   Q.       And did he under stimate the outcry after the killing

 16   of Poncho Leon in Guatemala?

 17   A.       Yes.   Yes, he stayed there and he didn't want to leave
    C



 18   since he had everything paid for.
 TE




 19   Q        But did the government continue to support him?

 20   A.       Well, more or less.

 21   Q.       And were you a part of, or were you aware how much
 O




 22   money was being paid to the former president of Guatemala?
PR




 23   A.       Yes.   They gave me the order to pay $24 million to the

 24   campaign, the political campaign, of Alvaro Colom.

 25   Q.       And what was that $24 million supposedly going to buy




                                 JMGV00000041
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                                                                           222


  1   the Zeta cartel in Guatemala?

  2   A.     Well, the deal was to get out containers, to unload




                                                                           L
  3   containers that came from Colombia that were filled with




                                                                IA
  4   cocaine.     And if he won the presidency with those funds, that

  5   they would be able to work -- we would be able to work in




                                                     ER
  6   Guatemala with no problems -- airports, with flights, with a

  7   flight plan, customs agents that were bribed -- to work with

  8   no problems and to move around as if we were politicians with




                                          AT
  9   permits and everything.

 10   Q.     And as politicians, you were not -

 11   A.     With weapons and everything        They gave us, actually,

 12

 13
                                   M
      effectively, they gave us 50 permits for -- as citizens, as

      Guatemala citizens, as G atemalans, and to move around freely
                           D
 14   with permission with arms permits.        So that if we were
     TE

 15   stopped by the law, we could just show our permits and they

 16   would let us go.

 17   Q.     And did that all change once this killing occurred?
    C



 18   A.     Yes     President Alvaro Colom sent a message to Z-40
 TE




 19   th ough      man named "Manuelito," and told him to go and hide,

 20   into hiding, until the country calmed down.

 21   Q.     And that is what you did; correct?
 O




 22   A.     Yes.
PR




 23   Q.     And then was there another massacre that occurred in

 24   Guatemala that caused problems for the cartel in Guatemala?

 25   A.     Yes.    The murder of 49 people in a ranch.




                                 JMGV00000042
      Case 1:16-cr-00065-BAH Document 179-1 Filed 07/07/23 Page 15 of 47
                                                                           223


  1                 MR. GONZALEZ:    Can we have Government's Exhibit's

  2   81-001 through 81 -- please.         The Guatemala.   Sorry, next.




                                                                           L
  3   BY MR. GONZALEZ:




                                                                IA
  4   Q.     Is this the massacre that you were referring to wh re

  5   some farm workers were killed by Zeta members?




                                                     ER
  6   A.     Yes.    I saw it on the news.       I was actually in the

  7   State of Coahuila.

  8   Q.     Were you present with Miguel Angel Tre ino when he gave




                                           AT
  9   the order for this to happen?

 10   A.     Yes.

 11   Q.     And not only was there vi lence in foreign countries in

 12

 13
                                    M
      Guatemala, but there was violence in Mexico.          Are you

      familiar with the killing of an SSI Agent, Special Agent, in
                           D
 14   Mexico?
     TE

 15   A.     Yes, yes.    Pepit     Zarabia gave the order.    He's

 16   somebody from the Zetas.       He is the child's father --

 17   godfather of Trevino Morales.
    C



 18   Q.     And that was an ambush of a special agent in Mexico;
 TE




 19   co rect?

 20   A.     Yes, yes.    I saw that on the news, but -- yes, but I

 21   know it was Pepito Zarabia because Lazcano called him to
 O




 22   scold him for it, and Z-40, too -- Z-40, also.          And I was
PR




 23   there when they scolded him.

 24   Q.     Not only was that killing, there was another killing of

 25   a jet skier on Falcon Lake.        Are you familiar with that one?




                                  JMGV00000043
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  1   A.     Some American tourists?

  2   Q.     Yes.




                                                                           L
  3   A.     Yes.    In a Lake Falcon?




                                                                IA
  4                 MR. GONZALEZ:   Can we have 81-011, please?

  5   BY MR. GONZALEZ:




                                                     ER
  6   Q.     And do you recognize the individual that's next on the

  7   left-hand side?

  8   A.     Yes, I recognize him.




                                          AT
  9   Q.     Who is he?

 10   A.     I know him as The Squirrel, Ardilla.         He's also a

 11   member of the cartel that I bel ng to

 12

 13
      Q.
                                    M
             And he was held responsible for the killing of this

      American citizen in this particular lake.
                           D
 14   A.     Yes.    I knew it through 40 and Lazcano -- I was
     TE

 15   there -- and 42, that he had killed the tourists.

 16   Q.     And being present with Miguel Trevino as you were, how

 17   many years were you by his side?
    C



 18   A.     I was next to that person for four and a half years of
 TE




 19   my life, day and night.

 20   Q.     And being with him for that period of time, you

 21   obviously saw him kill people; correct?
 O




 22   A.     Very many people.
PR




 23   Q.     If you had to estimate the total number of people that

 24   you saw him kill, what would that number be?

 25   A.     It is so many that I couldn't give you an estimate.




                                 JMGV00000044
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                                                                           225


  1   Q.     More than 300?

  2   A.     More than 300.




                                                                           L
  3   Q.     More than 500?




                                                                IA
  4   A.     It could be.

  5   Q.     And --




                                                     ER
  6   A.     Personally.    Him, personally.     So that he would take

  7   the gun, a knife, or some item, sometimes baseball bats.

  8   Hangings, draggings, squashing them with tru ks.           All kinds.




                                          AT
  9   Q.     Are you familiar with the term that they use in the

 10   Mexico cartels as "el guiso," spell d G-U-I-S-O?

 11   A.     Yes.   When they would burn the bodies in containers,

 12

 13
      200-litre containers.

      Q.
                                   M
             And would the indi iduals be cut apart and put into
                           D
 14   these drums and then set afire?
     TE

 15   A.     Without cutting them up, just the whole bodies would be

 16   put in there and lit up.

 17   Q.     What would they use to burn them?
    C



 18   A.     They would mix gasoline with diesel.
 TE




 19   Q      Why would they mix those two things together?

 20   A.     Well, since the cooks were very experienced, they

 21   realized that that mixture would help burn the bodies
 O




 22   quicker.    It was a process of many years to find out that
PR




 23   that was the best combination, the best process to cook them.

 24   Q.     And did you personally witness those burnings or those

 25   killings?




                                 JMGV00000045
      Case 1:16-cr-00065-BAH Document 179-1 Filed 07/07/23 Page 18 of 47
                                                                           226


  1   A.     Yes.    Yes, I saw it twice.

  2                 MR. GONZALEZ:    If we can go to Government's 93,




                                                                           L
  3   please.




                                                                IA
  4   BY MR. GONZALEZ:

  5   Q.     Here, in Government's 93, it talks about that.          It says




                                                     ER
  6   Zeta's Z-40 Tops Target List, and then it refers to, it

  7   says -- it says that by stuffing them into oil drums, dousing

  8   them with gasoline and setting them on fire, a practice known




                                          AT
  9   as el Guiso, or the cookout, that that was a common practice

 10   used by the Zeta cartel.       Is that a curate?

 11   A.     Yes.    That's the method that they would use to

 12

 13   with the intention that
                                    M
      disappear the bodies and the government wouldn't find them,

                                    here not be any proceedings against
                           D
 14   the members of the cartel, of the Zetas.
     TE

 15   Q.     And who were som       of the people that were being killed

 16   and disposed of this way?

 17   A.     Well, I wasn't in charge of that.        The only times I saw
    C



 18   those was because Miguel would go to the cookouts.
 TE




 19   Q      And when you say "the cookouts," did you have multiple

 20   locations, or did the Zeta cartel have multiple locations

 21   where this was occurring?
 O




 22   A.     Every city had their own kitchen.        Nuevo Laredo,
PR




 23   Monclova, Piedras Negras, Allende, Nava.         Every city had

 24   their own kitchen to cook their own detainees.

 25                 Every day they detained people, and people




                                 JMGV00000046
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  1   disappeared every day.      It was a horrible war where not a

  2   thousand people died, but a hundred thousand people.




                                                                           L
  3   Q.     And did Miguel Trevino kill people on a daily basis?




                                                                 IA
  4   A.     Daily, yes.

  5   Q.     And by different means, as you just said, by machete,




                                                     ER
  6   by knifing, by bullet, any possible means possible.

  7   A.     He was a person who had no emotion.        He had no emotion.

  8   He had no empathy.      He killed people every d y and he




                                          AT
  9   experimented.     He was a psychopath.     H   was sick.

 10   Q.     What was the most violent way that you saw him kill

 11   someone?

 12

 13
      A.
                                   M
             I saw a case of an 18-year-old girl with her mother.

      This girl had -- was dating one of the Zeta soldiers and one
                           D
 14   of the military soldiers        T ey took her to Allende,
     TE

 15   Coahuila, where these people are from.         They took her behind

 16   a hotel and they took off her nose.        First, they killed her

 17   mother in front of her because she was taking information to
    C



 18   the soldiers as in the movements of the Zetas.
 TE




 19               And they blew her nose off with an MP5.         Then they

 20   hit her on the ears.      They hit her face, her cheeks.       And the

 21   girl begged for them to kill her already because it hurt her.
 O




 22   And she screamed out of pain.
PR




 23               And the mother, who was supposedly dead by that

 24   point, got up and went and fought him and said, dog, leave my

 25   daughter alone.     And we all got scared because she was




                                 JMGV00000047
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  1   supposedly dead.

  2                 And Miguel Angel Trevino said Did you see that?




                                                                           L
  3   And he put the MP5 -- put it in automatic and shot her to see




                                                                IA
  4   what would happen.      And she fell.     At this point, he kept on

  5   playing with the girl, shooting her in the legs.           She was




                                                     ER
  6   screaming for them to just take her life.

  7                 And Miguel, instead of feeling empathy       r sadness,

  8   despite from seeing a person like this, he w s showing off to




                                          AT
  9   all of us that he had really good aim.         He had a hard time

 10   empathizing with people.       He has no    motion.

 11                 And the girl fell to the ground and she said I

 12

 13
      can't move anymore.

      to stand up.
                                   M
                               And he was yelling at her, telling her

                       And when the lady tried to stand up and she
                           D
 14   tried to push herself up and say I can't get up any more.
     TE

 15   Please just kill me.      I can't do it.

 16   Q.     Did he eventually kill her?

 17   A.     Yes.
    C



 18   Q.     How long did it take?
 TE




 19   A      She would faint and then she would wake up.          And he had

 20   her playing like that for a while.         Until he finally shot her

 21   in the head.
 O




 22   Q.     And you said that he experimented with ways to kill
PR




 23   people.    Did he have doctors working for him?

 24   A.     Yes, many, and in all his cities.        They were all

 25   corrupt.




                                 JMGV00000048
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  1   Q.       They were working for him.       Those were the doctors that

  2   would tend to the wounded of his war against the other




                                                                           L
  3   cartels; correct?




                                                                IA
  4   A.       Yes, in the war that was in Miguel Aleman, Tamaulipas,

  5   against the ones with El Golfo.




                                                     ER
  6   Q.       He also had them experimenting with them trying to find

  7   drugs that would kill other individuals without leaving a

  8   trace.




                                          AT
  9   A.       Yes.   In an autopsy, the doctors told him that the

 10   Botox would not show trace.       It was     ty e of Botox.    I don't

 11   know which kind it is.      I don't really understand much about

 12

 13
      that.

      Q.
                                   M
               Did he have the do tors experimenting with Botox and
                           D
 14   injections of Botox to inject individuals so that he could
     TE

 15   kill people with ut th re being a trace?

 16   A.       So that they would die of a heart attack.       And when

 17   they were diagnosed, it would diagnose as having died of a
    C



 18   heart attack.
 TE




 19   Q        Did you ever see him experiment on that with live

 20   individuals?

 21   A.       Yes, with the detainees.     They arrested and detained
 O




 22   people all the time for being drunk at the discos.           And he
PR




 23   told the chief or the head of the plaza -- his name was "El

 24   Flaco 24" -- and he told him to bring -- bring me the one

 25   that you don't like the most of the detainees.          And when he




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  1   finally arrived, he injected him under the arm.

  2   Q.       And did that individual die immediately?




                                                                           L
  3   A.       No, no.    He -- he -- he gave him an injection with a




                                                                IA
  4   large quantity.       And there were a lot of people who were

  5   picking him up by the arm.         And he personally injected him




                                                     ER
  6   because he liked to do them directly personally.           He loved

  7   killing people.

  8   Q.       And he injected this detainee.      And ho   long did he




                                            AT
  9   linger before he passed away?

 10   A.       About 40 minutes.

 11   Q.       And was he happy that it       as taking that long?

 12

 13
      A.       Yes.
                                     M
                      He would like to see people suffer.

      than anything, for peopl
                                                               And more

                                      who were really close to him, to
                            D
 14   cause fear and psychosis wit in us so that we would not
     TE

 15   betray him in the future.         Like giving us a warning that if

 16   we were to betray him, that that would happen to us, or

 17   worse.
    C



 18   Q.       And he was willing to kill just about anyone; correct?
 TE




 19   A        Any of us.    He would kill all of us.     He was above

 20   everybody, at the highest of the highest level.

 21   Q.       What about his own personal family members?
 O




 22   A.       Miguel's family?
PR




 23   Q.       Or his wife's family.

 24   A.       Oh, yes.   When he did this experiment with the Botox,

 25   he didn't like it, and he called the doctor and he started




                                   JMGV00000050
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  1   asking questions as to what they could do to make it faster.

  2   And before that he had also experimented with another judge




                                                                           L
  3   from Tamaulipas.     That judge would not release his nephew,




                                                                 IA
  4   Rolis, from the jail, and he had him picked up by Flaco 24.

  5   And he did the same experiment of the Botox, but it was more




                                                      ER
  6   evolved so that he could die quicker, supposedly.

  7                After he killed the judge, we all go         dressed as

  8   PFP.   He killed the judge in 2009.         And ther   were like seven




                                          AT
  9   cloned trucks of the PFP.

 10   Q.     When you say "PFP," that's the fed ral police.

 11   A.     The federal police people who were assigned by the

 12

 13
      president, Alvaro Colom.

      combat us, the Zetas.
                                   M It was a group that was formed to
                           D
 14   Q.     Anyway, so you dress up as them, you have vehicles that
     TE

 15   are similar to theirs, and what do you do?

 16   A.     Yeah.   They were identical.         And we went dressed all

 17   the way to Reynosa, Tamaulipas.           Because Zetas, we already
    C



 18   had problems with the Gulf, and we went dressed that way so
 TE




 19   th t the ones from El Golfo would not stop us.           They were our

 20   mortal enemies.

 21                Arriving there, he arrived to a family member's
 O




 22   home and busted in.      And they all stayed.      There were around
PR




 23   80 people of us that were dressed like PFP.            And he gave us

 24   the order of the ones that were closest to him to go into

 25   that home.




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  1               And in the house there were a lady, and a man in

  2   a -- the wheelchair.      A 50-year-old woman.      The man was about




                                                                           L
  3   58 or 60.    The man couldn't move.       He couldn't even speak.




                                                                 IA
  4   He was very sick.     The lady was put into a room and the door

  5   was closed.    And they left me taking care of the man in the




                                                     ER
  6   wheelchair.

  7               But during one of those moments, they opened the

  8   door and I had the temptation to look in.         And I heard the




                                           AT
  9   lady say, don't do it.      My daughter is going to notice.          But

 10   I didn't know what she was talking a out          And they grabbed

 11   her between seven men, and he injected her with Botox under

 12

 13
      the armpit.
                                   M
                     They laid her in the bed and they left her

      there, and we walked out
                           D
 14               The next day, they sent us to buy black clothes.
     TE

 15   So he told me to buy black clothes and to take a -- and take

 16   a bath.    That was when we woke up from sleeping in a ranch

 17   that we were sleeping in.         I did what I was told.    I took a
    C



 18   shower and I dressed in black, and he did, too.
 TE




 19               And then we went to a house where the lady was

 20   there crying and crying saying, Miguel, those dogs killed --

 21   killed him -- killed her.         She said those dogs from the PFP
 O




 22   killed my mother.     And Miguel faked that he didn't know what
PR




 23   they were talking about.

 24               MR. BELDEN:     Your Honor, may we approach?

 25               THE COURT:     Yes.    Stand by.




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  1               (Sidebar discussion begins.)

  2               MR. BELDEN:     Yes.    One of the Court's interpreters,




                                                                           L
  3   because she keeps interpreting assassins as "men," and we're




                                                                IA
  4   not very comfortable with the interpretation.

  5               THE COURT:     She is the government's interpreter,




                                                     ER
  6   but she has been sworn.      Do you have a problem with her

  7   interpretation?

  8               MR. BELDEN:     Well, I keep hearing "assas ins."




                                           AT
  9               MR. GONZALEZ:     I speak perfec     Spanish, and I don't

 10   have a problem with her interception

 11               MR. BELDEN:     But she's say ng "assassins," and it's

 12

 13
      coming back as "men."

                  MR. GONZALEZ:
                                   MI did 't hear that.
                           D
 14               THE COURT      Is that the only --
     TE

 15               MR. BELDEN:     Yeah.

 16               THE COURT      -- issue you had?

 17               MR. BE DEN:     Yeah.
    C



 18               THE COURT:     Okay.
 TE




 19               MR. BELDEN:     I was just making sure that if she's

 20   sworn and qualified, I just don't want -- I certainly don't

 21   want my guy coming back on a writ saying that I didn't -- if
 O




 22   she is a federally certified interpreter, that's --
PR




 23               MR. GONZALEZ:     She's interpreted before, yes.

 24               MR. BELDEN:     Okay.

 25               MR. GONZALEZ:     Like I said, I speak perfect




                                 JMGV00000053
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  1   Spanish.    I haven't seen any flaw in her interpretation.

  2                 THE COURT:    Okay.   If there is anything else that




                                                                           L
  3   comes up -- but she's been sworn.           It seems as though it's




                                                                 IA
  4   going fine.

  5                 MR. BELDEN:   Okay.




                                                       ER
  6                 (Sidebar discussion concludes.)

  7                 THE COURT:    All right.      Mr. Gonzalez, y u can

  8   continue.




                                           AT
  9   BY MR. GONZALEZ:

 10   Q.     You were saying that the woman          or Miguel Trevino's

 11   wife, was accusing the PFP of k lling this woman?

 12

 13
      A.

      Q.
             Yes.

             Did you ever find
                                    M
                                    ut who that woman was to Miguel
                           D
 14   Trevino's wife?
     TE

 15   A.     The wife must not know until now.          I didn't know what

 16   woman that they were talking about until I looked and I saw

 17   that it was the same woman that they had injected.           And I saw
    C



 18   there that it was her very own mother-in-law that had been
 TE




 19   mu dered

 20   Q.     It was his mother-in-law.           He had killed his own

 21   mother-in-law.
 O




 22   A.     The grandmother of his children.
PR




 23   Q.     So he had killed his own mother -- his own

 24   mother-in-law.

 25   A.     That is true.




                                  JMGV00000054
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  1   Q.     And was portraying himself as not knowing what had

  2   happened to her.




                                                                           L
  3   A.     Yes, he was pretending.       And the wife was demanding




                                                                IA
  4   that he kill those of the PFP.

  5   Q.     Did he ever tell you why he killed his own




                                                     ER
  6   mother-in-law?

  7   A.     He later told me.     And then he told me that if I ever

  8   said anything, he would kill me and my family           He said that




                                          AT
  9   if you ever say anything about what you saw today, I will

 10   kill you and your family.

 11   Q.     And what reason did he gi e you for killing his

 12

 13
      mother-in-law?

      A.     The mother-in-law
                                   M
                                   as doing the role of a mother-in-law
                           D
 14   and told the children not to get in the car with their father
     TE

 15   because the government wa       after their father.     And he was

 16   afraid that if the soldiers stopped him in the middle of the

 17   Nuevo Laredo and they wanted to shoot him, and because the
    C



 18   children were with their father, that they would get shot and
 TE




 19   mu dered -- and killed, too.

 20   Q.     So she was trying to be a good grandmother to his kids

 21   and protect them.
 O




 22   A.     Yes, that is the way of it.        They told -- she told the
PR




 23   children not to say anything to their father.          But since this

 24   five-year-old child Alfonso was very small, he told his

 25   father that the grandmother had said that, and he -- this guy




                                 JMGV00000055
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  1   got really mad.     And when he heard this, that's when he

  2   started to orchestrate this malicious thing.




                                                                           L
  3   Q.     And is that the way Miguel Trevino operates?          When you




                                                                IA
  4   cross him, he kills you.       When you don't do what he says, he

  5   kills you.    When you have something that he wants and you




                                                     ER
  6   won't give it to him, he kills you.        When you have something

  7   that he wants and you won't sell it to him at the price he

  8   wants to pay you, he'll kill you.




                                          AT
  9   A.     Even if I was at a party and I w s better dressed than

 10   him, he would plan to kill me.

 11   Q.     And he was --

 12

 13
      A.

      Q.
                                   M
             You had to be very careful with that.

             And he was also --
                           D
 14   A.     He is a very dysfunctional person.
     TE

 15   Q.     And he was also int      horse racing; correct?

 16   A.     He loved it.

 17   Q.     And when his horses under-produced or under -- didn't
    C



 18   do well, what would he do with those horses?
 TE




 19   A      He would take them out of their corrals and he would

 20   run over them with their trucks, with the bulletproof trucks,

 21   and go over them and over them and then play with them that
 O




 22   way until they died.
PR




 23                He would kill people all day.       And he didn't have

 24   no -- he had no respect for human life, and worse with

 25   animals.




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  1   Q.     Let me bring you to May -- I'm sorry, March 20th, 2011,

  2   Allende, Mexico.




                                                                           L
  3   A.     Excuse me?




                                                                IA
  4   Q.     March 20, 2011, Allende, Mexico, the massacre that

  5   occurred there.     Were you there with him?




                                                     ER
  6   A.     Yes, Your Honor.

  7   Q.     And why did that massacre occur?

  8   A.     Because they had detained Poncho Cuell r here in Eagle




                                          AT
  9   Pass, Texas.

 10   Q.     And did he pick up anyone that was associated with

 11   Mario Poncho Cuellar, or Poncho Cuellar?

 12

 13
      A.

      Q.
             Excuse me?
                                   M
             Did he pick up the individuals -- any individual that
                           D
 14   was related to, or friends with, Mario Poncho Cuellar?
     TE

 15   A.     Yes, even the friends of his children from school.

 16   Q.     And were they taken to a location to be interrogated?

 17   A.     Well, I saw one.     But days before that, Omar Trevino,
    C



 18   Z-42, had already killed several people related to Poncho
 TE




 19   Cu llar.    Neighbors.    Where the wife went to the gym, the

 20   owners of the gym.      Where Poncho Cuellar would go to a

 21   restaurant, the owners of that restaurant.          The owners of the
 O




 22   place where the wife would go buy clothes.          Anything that had
PR




 23   anything to do with Poncho.       This a lot of innocent people.

 24   And I was witness to one of those tragedies.

 25   Q.     What was it that you saw?




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  1   A.     In the football field, it was around -- it was 9:00

  2   p.m., there were about -- there were many Zeta trucks, about




                                                                           L
  3   30.   Around 80 to a hundred Zetas with vests and long arms,




                                                                IA
  4   there were a lot of them walking up and down.          And there were

  5   about 20 blindfolded people in line, all standing:           Owners of




                                                     ER
  6   the gym; owners of restaurants; friends of the sons of

  7   Poncho; his friends from school.          Miguel was telling me this

  8   with the paper in the truck.        He was saying, there s




                                          AT
  9   everything here, Carlitos, friends and everything.

 10               He's always taking advant ge of the situation to

 11   cause a psychosis between us.        There were women.     At a

 12

 13   couldn't see very well.
                                   M
      distance, I could see kids that were 15, 20-years old.

                                   They were at a distance from here to
                                                                           I
                           D
 14   that big TV.    It was a long line of blindfolded people and
     TE

 15   everything.    And they were questioning them and investigating

 16   them about Poncho Cuellar's family, about his wife, the

 17   children, about Poncho, family members of Poncho.           And, well,
    C



 18   the people would defend themselves by saying they were just
 TE




 19   cl ents from the gym or the restaurants.

 20               And since Miguel didn't realize that they really

 21   didn't have any good information for him, he just told --
 O




 22   Miguel told his brother, Omar, kill them all.          And when
PR




 23   people heard that order, they started to cry and to scream.

 24   Please, we have nothing to do with Poncho.          Don't kill us,

 25   please.    I have a family.     I have kids.    And they would hug




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  1   each other, lay on the ground.          And Omar would give them the

  2   orders to lift them up, lift them up.            Commander Peluchin,




                                                                           L
  3   20, would pick them up.        They would pick them up.      And they




                                                                  IA
  4   would cry, they would hug each other.            They would lean on

  5   each other emotionally.




                                                        ER
  6   Q.       And did he kill them?

  7   A.       All of them.    He had to reload his -- his firearm

  8   twice.    There were so many that he had to reload it twice.




                                            AT
  9   Q.       And that was because they were in some way connected to

 10   Poncho Cuellar?

 11   A.       Yes, that's true.

 12

 13
      Q.
                                     M
               And did you also see the destruction of the property

      belonging to Poncho Cuellar?          Were they ransacking and
                             D
 14   destroying the properties th t Poncho Cuellar owned in that
     TE

 15   area?

 16   A.       Yes.    I saw the destruction of one of his ranches and a

 17   home in Nava, Coahuila, and a ranch that he had near
    C



 18   Zaragoza.       They put it on fire.        And they took all the
 TE




 19   fu niture out of the house.         Because Poncho Cuellar loved

 20   opulence, he had a lot of art, he had a home that was worth

 21   over $5 million in Nava, Coahuila.
 O




 22                   And Omar had several trucks come to pick up the
PR




 23   beds and art.       And then he had them bring a machine with a

 24   ball and a chain.       And the machine was there for about three

 25   days destroying the house.         Miguel would go every day to eat




                                   JMGV00000059
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  1   tacos near there, in the street, so that he could monitor the

  2   destruction.       They were men of destruction.     He liked to




                                                                           L
  3   destroy.




                                                                IA
  4   Q.       All right, Mr. Guizar.      Let's focus back on the

  5   defendant here.




                                                     ER
  6                   You said that you were aware, based on your

  7   position with the cartel as being one of the top leaders,

  8   that he was one of the top producers, he and Poncho Cuellar




                                           AT
  9   were the ones that were selling the most cocaine.

 10   A.       Yes, they were the preferred      f th   cartel of the

 11   Zetas.

 12

 13
      Q.
                                    M
               Was there ever an occasion where you saw them counting

      large sums of money?
                             D
 14   A.       Yes.
     TE

 15   Q.       Tell us ab ut th t    ccasion where you saw the defendant

 16   present and there was counting of large quantities of money.

 17   A.       We were in a house in an enclosed area, large area; 40
    C



 18   and 42 were there.       Pepito Sarabia was there.     Navia and
 TE




 19   Papiruchis        And there were many of my cousins and many, many

 20   Zetas more.       The house was full.

 21                   Poncho arrived and Vecino arrived.     They were taken
 O




 22   with three trucks.       They left the trucks parked inside
PR




 23   because the land was covered with our trucks, with our

 24   vehicles.       They set up a table, long line -- a long table

 25   like that one, and they set up the money counting machine.




                                  JMGV00000060
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  1   There were three or four machines.

  2               And Poncho Cuellar and El Vecino arrived with like




                                                                           L
  3   three or four other people, and they started to count money




                                                                IA
  4   and we were there all day with Omar.          They labeled all the

  5   packets with W, because that was going to Comandante W.




                                                      ER
  6               They were counting the money all day there,

  7   packaging, wrapping them with rubber bands, label them with

  8   2,000, 10,000, 20,000, 50,000, and hundred-thousand




                                          AT
  9   increments.    They would put them in pa kages and seal them.

 10               I remember it was between 15 and $21 million

 11   dollars.    I'm not quite sure.           don't really remember.     They

 12

 13
      put it all together there.

      accommodated it.
                                   M   They put it all in line and they

                           They p t it all together.       And Poncho
                           D
 14   Cuellar told Omar I'm giving you this amount of millions of
     TE

 15   dollars, Command r 42.      I need you to confirm it.

 16               And Omar came up and confirmed and counted the

 17   packets.    And he began to add it and to multiply and add it
    C



 18   all up.    And Poncho asked Are we in agreement, commander?
 TE




 19               And he said, yes, it's about 18 or 21 million.            I

 20   can't remember what he said.

 21   Q.     And did the defendant Vecino help him?
 O




 22   A.     Exactly.    He also had a ledger he was writing in.           And
PR




 23   that was a debt that they had with Omar Trevino Morales and

 24   Miguel for the delivery that they were doing for them, of the

 25   tons of cocaine that they were doing for them.          It was a




                                 JMGV00000061
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  1   payment for the debt that they had with the brothers Trevino.

  2   Q.      When you say they, you say they because the defendant




                                                                           L
  3   and Poncho Cuellar were partners.




                                                                IA
  4   A.      Yes, partners.    Yes.   Yes, partners.     And this man was

  5   his right-hand man.      This man here was not just any worker,




                                                     ER
  6   he was one of the closest for people and a partner.           I can

  7   identify other people that were just simple workers, but this

  8   man I can identify as a person that's very close to him as a




                                          AT
  9   partner, a very close partner.        He was a leader of the drug

 10   trafficking group that was in charg         of trafficking thousands

 11   and thousands of kilos of cocaine from Piedras Negras to

 12

 13
      different cities in Texas.
                                   M
      He was not just a common worker
                                       He was made partner of Cuellar.
                           D
 14               MR. GONZALEZ:     That's all I have.     I pass the
     TE

 15   witness.

 16               THE WITNESS:     I want to say something.

 17               THE COURT:     For the witness, I'm sorry, but you
    C



 18   can't provide any testimony unless you're answering a
 TE




 19   qu stion of Mr. Gonzalez.

 20               Mr. Belden, I think we may take a short -- how long

 21   do you think you're going to have?
 O




 22               MR. BELDEN:     A short break will be fine.       I am
PR




 23   going to be a little bit with this guy.

 24               THE COURT:     All right.     Because we're at ten to

 25   four.   We're going to take about a ten-minute break and we'll




                                 JMGV00000062
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  1   come back at four o'clock.

  2               THE COURT SECURITY OFFICER:        All rise.




                                                                           L
  3               (Recess taken.)




                                                                 IA
  4               THE COURT:     Please be seated.

  5               All right.     When we had left off, Mr. Belden, you




                                                      ER
  6   were going to begin your cross-examination of Mr. Valencia.

  7   And you can proceed when you're ready.

  8                             CROSS-EXAMINATION




                                          AT
  9   BY MR. BELDEN:

 10   Q.     Good afternoon, sir.

 11   A.     Good afternoon.

 12

 13
      Q.
                                      M
             It's undisputed that you're a Zeta at the top of the

      food chain; is that corr ct?
                           D
 14               THE COURTROOM DEPUTY:         (Indecipherable.)
     TE

 15               THE COURT:     Oh   I think you might want that on.

 16   BY MR. BELDEN:

 17   Q.     It's undisputed that you're a Zeta at the top of the
    C



 18   food chain; is that correct?
 TE




 19   A      Yes, that is true.

 20   Q.     You're up -- you're on the same level as the Trevino

 21   brothers, Mr. Lazcano; is that correct?
 O




 22   A.     That is true.
PR




 23   Q.     Did Taliban ever make that level?

 24   A.     Taliban, well, he was higher up than I was.

 25   Q.     And to be a Z, is it a fair statement that you have to




                                 JMGV00000063
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  1   commit a murder?

  2   A.     No.




                                                                           L
  3   Q.     Okay.    Have you committed any murders?




                                                                IA
  4   A.     That is a myth.

  5   Q.     Okay.    Have you committed any murders?




                                                     ER
  6   A.     Never.

  7   Q.     So is it your statement to the Court that you've just

  8   been present as an extremely high-ranking member at all these




                                          AT
  9   murders and all these massacres, but y u've never

 10   participated?

 11   A.     Yes, that's true.     I've n ver participated in killing

 12

 13
      anybody directly.

      Q.     Okay.
                                   M
                      Have you helped them kill anybody?
                           D
 14   A.     No.   And I've never even given the order because that
     TE

 15   was not my role.     My r le was to get kilos of cocaine.

 16   Q.     And the massacre in Guatemala --

 17   A.     And they have their own role.
    C



 18   Q.     So you're telling the Court that even if you are a
 TE




 19   hi h-ranking, top-level Zeta member, that it's not required

 20   that you have murdered anybody or assisted murders when

 21   requested?
 O




 22   A.     In the cartel of the Zetas, it wasn't that way.          You
PR




 23   didn't have to kill anybody to get up that high.           You could

 24   show yourself another way.

 25   Q.     And in most organized criminal units, you can rise by




                                 JMGV00000064
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                                                                            245


  1   being a good earner; is that correct?

  2   A.     How is that?




                                                                           L
  3   Q.     By being a good earner, by making a lot of money for




                                                                IA
  4   the organization?

  5   A.     There are very many ways.          One of those ways is that




                                                      ER
  6   way.

  7   Q.     Okay.    What are the other ways?

  8   A.     Be a good chief of plaza, know how to handle the




                                          AT
  9   operatives and the police that you pay

 10   Q.     Okay.    Basically be a good bu iness manager?

 11   A.     Yes.    You could say like         municipal police.

 12

 13
      Q.

      A.
             Okay.
                                   M
                      And how did you specifically earn your Z?

             I earned that beca se of the influences that I had in
                           D
 14   Guatemala.     I knew the narco trafficking world in Guatemala.
     TE

 15   Q.     And how long hav     y u been in the narco trafficking

 16   business?

 17   A.     I started more or less in 2006.
    C



 18   Q.     How old were you in 2006?
 TE




 19   A      Twenty-six years old.

 20   Q.     When you say you met Mr. Hugo Chavarria, where did you

 21   meet him?
 O




 22   A.     Who?
PR




 23   Q.     Hugo Roman, the defendant here today.

 24   A.     Oh, Vecino.

 25   Q.     When did you meet him?




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  1   A.      More or less in 2009.

  2   Q.      And where did you meet him?




                                                                           L
  3   A.      I met him at the house where they were counting money




                                                                IA
  4   also, but I had already seen him before.

  5   Q.      Okay.   And would it not be logical for even lower-level




                                                     ER
  6   people to count money when they're dealing with Miguel and

  7   Omar Trevino?

  8   A.      Wouldn't it be logical to what?




                                          AT
  9   Q.      For lower-level people to take d tailed accounts of

 10   money that they're transferring within the cartel?

 11   A.      Miguel Angel Trevino Mora es was the one who was

 12

 13
      writing stuff down.

      Q.      Okay.
                                   M
                      Didn't you say that Vecino was writing things
                           D
 14   down?
     TE

 15   A.      Yes.

 16   Q.      Okay.   And wouldn't that be wise of him when doing

 17   business?
    C



 18   A.      Well, in this business accounting is vital, you have to
 TE




 19   wr te it down.

 20   Q.      Okay.

 21   A.      There has to be an accounting.
 O




 22   Q.      And if he didn't account for his money properly or if
PR




 23   he didn't account for his drugs properly, that could get him

 24   killed.

 25   A.      I'm confused.    Just a moment.    I didn't understand your




                                 JMGV00000066
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  1   question.

  2   Q.     If he didn't account for his money or drugs properly,




                                                                           L
  3   that could get him killed.




                                                                IA
  4   A.     Yes, also it's happened.

  5   Q.     And in fact, I mean, you -- many people have reportedly




                                                     ER
  6   been killed because Z-40 or Z-42 thought they owed him money.

  7   A.     Yes.    They kill people left and right.

  8   Q.     Okay.    And one of the main reasons is because they




                                          AT
  9   think they shorted them money, or stol         money, or there was

 10   another problem with the money.

 11   A.     Yes, that was one of the       easons, but that wasn't the

 12

 13   Q.     Okay.
                                   M
      only reason or the major reason.          There are lots of reasons.

                      And the entire time that you were dealing
                           D
 14   with -- let me rephrase.
     TE

 15                 How many times would you say you had ran into Hugo,

 16   the defendant here, during your time working with the Zetas?

 17   A.     I saw him about three times, if not more.         Maybe more.
    C



 18   Q.     And has the Zeta cartel always, to your knowledge, been
 TE




 19   at war with the Sinaloa cartel?

 20   A.     When I came in, yes.

 21   Q.     Okay.    Are they still at war?
 O




 22   A.     As far as I know, yes, but I've been gone for a while.
PR




 23   Q.     Okay.    How long have you --

 24   A.     If they're still going.       But there was a time in 2007

 25   when they had a truce.      The truce lasted around nine months.




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  1   It was in public domain.       That truce was in public domain.

  2   Q.     And after nine months they went back to war, and




                                                                           L
  3   they've been continuously at war, to your knowledge?




                                                                IA
  4   A.     I don't know how they are now because ever since I've

  5   been -- since I've been free, I removed myself.




                                                     ER
  6   Q.     Okay.   Now, the times you met Mr. Chavarria, are you

  7   telling us he was a leader because you saw him counting money

  8   and because other people told you this?




                                          AT
  9   A.     Because Miguel Angel Trevino Mor les kept on saying

 10   that, and Omar, too.      And I was with them all the time.

 11   That's why I know it.      That's why I know the hierarchy of

 12

 13
      this person.

      Q.     Okay.
                                   M
                     They said that Poncho was running all the best
                           D
 14   drug business in Dallas; is that correct?
     TE

 15   A.     He was the favorite client of the cartel, the one who

 16   distributed the most drugs of all.

 17   Q.     And did you ever personally experience any business
    C



 18   interactions between Poncho and Hugo, other than the money
 TE




 19   be ng counted that one time?

 20   A.     Another interaction?

 21   Q.     As far as business goes.
 O




 22   A.     Drug deliveries.
PR




 23   Q.     Okay.   And who did you deliver to on that occasion?

 24   A.     To Poncho Cuellar, and other workers showed up, and

 25   also this individual, too.




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  1   Q.       Okay.   You personally delivered that drug load?

  2   A.       Omar and Miguel arrived.     That drug had -- those drugs




                                                                           L
  3   had just arrived from Guatemala.          And it was delivered to a




                                                                IA
  4   ranch that was on the outside of Piedras Negras that bel nged

  5   to -- that was in Piedras Negras.         It was a ranch that




                                                     ER
  6   belonged to Poncho Cuellar that's right on the outside of

  7   Piedras Negras, around 5 kilometers.         We used to go there a

  8   lot to sleep, with Miguel, and that's where          he delivery was




                                          AT
  9   made.

 10   Q.       Okay.   So this ranch was owned by Poncho Cuellar; is

 11   that correct?

 12

 13
      A.

      Q.       Okay.
                                   M
               I don't know if he was the owner or if he rented it.

                       Now, wouldn t it be logical that if Hugo -- if
                           D
 14   El Vecino, as you know him, was partners with Poncho Cuellar,
     TE

 15   that he would have been killed in 2011?

 16   A.       Well, it's my understanding that someone spoke for him.

 17   Q.       Okay.
    C



 18   A.       So that they wouldn't kill him.
 TE




 19                MR. BELDEN:    One moment, Your Honor.

 20                (Pause in the proceedings.)

 21   BY MR.    BELDEN:
 O




 22   Q.       You're hoping to get a benefit out of your testimony
PR




 23   here today; is that correct?

 24   A.       I have the hopes that in the future I can do that, but

 25   I have not been offered anything.




                                 JMGV00000069
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  1   Q.      Okay.   Do you have an attorney?

  2   A.      Yes, I have an attorney.




                                                                           L
  3   Q.      And has that attorney explained to you how the federal




                                                                IA
  4   sentencing process works?

  5   A.      Not yet, because he's from McAllen and he hasn't come




                                                     ER
  6   to see me.

  7   Q.      Okay.   Has anyone explained to you how the federal

  8   sentencing process works?




                                           AT
  9   A.      More or less.

 10   Q.      And you understand that if you testify to the benefit

 11   of the government, that you can receive a third or half off

 12

 13
      your sentence?

      A.      No, I didn't know
                                    M
                                    hat.
                           D
 14   Q.      Have you met with the government before?
     TE

 15   A.      Yes.    The prosecutor has gone to see me.

 16   Q.      And did he not explain to you how the federal

 17   sentencing process works?
    C



 18   A.      No, none of that.     He has not offered me any years, any
 TE




 19   re uction in sentence or anything.

 20   Q.      Okay.   Have you pled guilty in this case?

 21   A.      I'm guilty, just as this person here is guilty, of the
 O




 22   crimes that I've committed outside.
PR




 23   Q.      Okay.   And but have you legally entered a plea in this

 24   case?

 25   A.      Yes.    By declaring these facts that I've participated




                                  JMGV00000070
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  1   in, I am declaring myself guilty.

  2   Q.      Okay.    Now, how long have you been in the United




                                                                           L
  3   States?




                                                                IA
  4   A.      I've been here for about a year and five months si ce

  5   I've arrived, or maybe a little bit more.




                                                     ER
  6   Q.      Now, you said you were trained as a military Zeta; is

  7   that correct?

  8   A.      Well, I did go to the trainings, but I don't know if




                                           AT
  9   you could call it military training be ause it was only for

 10   about 15 days.     More than anything, it was shooting, just

 11   like any other person, like the person who goes hunting to

 12

 13
      kill deer.
                                    M
                      I saw the training because we did like to go

      watch it, but I wasn't a complete part of it.
                           D
 14                MR. BELDEN:    I'll pass the witness, Your Honor.
     TE

 15                THE COURT:    Thank you, Mr. Belden.

 16                Anything further, Mr. Gonzalez?

 17                MR. GONZALEZ:     Just a couple of questions, Your
    C



 18   Honor
 TE




 19                           REDIRECT EXAMINATION

 20   BY MR. GONZALEZ:

 21   Q.      Sir, you kept saying this person, this person, this
 O




 22   person, when you were referring to the defendant, but you
PR




 23   know him by his alias as "El Vecino"; correct?

 24   A.      Yes, that's true.

 25   Q.      And the person that you know as El Vecino, can you tell




                                  JMGV00000071
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  1   us what he's wearing?

  2   A.     He's in stripes as a prisoner, the same as me.




                                                                           L
  3   Q.     What color are the stripes?




                                                                IA
  4   A.     Gray with white.

  5               MR. GONZALEZ:     Your Honor, may the record ref ect




                                                     ER
  6   that he's identified the defendant.

  7               THE COURT:     The record will reflect      hat Mr   Guizar

  8   Valencia has identified the defendant.




                                          AT
  9   BY MR. GONZALEZ:

 10   Q.     And there was, lastly, something that you said you

 11   wanted to tell me right before        he cross-examination.      What

 12

 13   A.
                                   M
      was it that you were wanting to tell me?

             The kilos that we got in Guatemala has two marks, two
                           D
 14   stamps.    Miguel would person lize them as he chose.         Some
     TE

 15   kilos had "200" on them.       And others had "XL."     The Roman

 16   numerals meant 40.      In honor of Zeta 40, he numbered them

 17   that way for him.
    C



 18   Q.     Okay.
 TE




 19   A      That was the line that the Zetas were running.

 20               MR. GONZALEZ:     Okay, thank you.

 21               THE COURT:     All right.     We're going to go ahead and
 O




 22   excuse Mr. Valencia at this time.
PR




 23

 24

 25




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                                                                           290


  1

  2




                                                                           L
  3




                                                                IA
  4

  5




                                                       ER
  6

  7

  8                 THE COURT SECURITY OFFICER:     All rise.




                                            AT
  9                 (Recess taken.)

 10                 THE COURT:     You can be seated

 11                 All right.     So we brought Mr. Guizar Valencia back

 12

 13
      to the stand.

      oath.
                                     M
                         And, Mr. Guizar Valencia, you remain under
                            D
 14                 Mr. Belden, you have a few more questions to ask
     TE

 15   Mr. Valencia, and you        an proceed.

 16                 MR   BELDEN:   Yes, Your Honor.    Thank you.

 17                        JOSE MARIA GUIZAR VALENCIA,
    C



 18              recalled as a witness, was previously sworn.
 TE




 19                           RECROSS-EXAMINATION

 20   BY MR. BELDEN:

 21   Q.      Mr. Valencia, have you ever been convicted of a felony?
 O




 22   A.      No.
PR




 23   Q.      In any country?

 24   A.      No.

 25   Q.      What about theft or similar crime?




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  1   A.      No -- yes, I mean.       I'm sorry.   Yes, I do have a

  2   sentence in Mexico.




                                                                           L
  3   Q.      Okay.   And what was that sentence?




                                                                IA
  4   A.      For a gun.

  5   Q.      When were you found with a gun in Mexico?




                                                      ER
  6   A.      Well, the Marines planted it on me when they ca tured

  7   me.   It wasn't mine.

  8   Q.      Okay.   And what year was that?




                                            AT
  9   A.      In 2018.

 10   Q.      Okay.   Was that when you were originally arrested in

 11   this case?

 12

 13
      A.

      Q.
              Yes, that's true.

              Okay.   And one las
                                    M  question.    Mr. -- or El Vecino, as
                           D
 14   you know him, doesn't have a Z or a Z number; is that
     TE

 15   correct?

 16   A.      That I know of     no.

 17                MR. BE DEN:    Okay.    No further questions, Your
    C



 18   Honor
 TE




 19                THE COURT:    Thank you, Mr. Belden.

 20                And I assume nothing further from the government.

 21                MR. GONZALEZ:       No, Your Honor.
 O




 22                THE COURT:    All right.      Mr. Valencia, you are
PR




 23   excused.

 24

 25




                                  JMGV00000074
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  1                     CERTIFICATE OF OFFICIAL REPORTER

  2




                                                                           L
  3               I, Gayle Wear, Federal Official Court Reporter, in




                                                                IA
  4   and for the United States District Court for the Eastern

  5   District of Texas, do hereby certify that pursuant to Section




                                                     ER
  6   753, Title 28 United States Code, that the foregoing is a

  7   true and correct transcript of the stenographically reported

  8   proceedings held in the above-entitled matter and that the




                                          AT
  9   transcript page format is in conforman e with the regulations

 10   of the Judicial Conference of the United States.

 11

 12

 13
                                   M
                              Dated 12th day    f August 2021.
                           D
 14
     TE

 15                           /s/ Gayle Wear
                              GAYLE WEAR, RPR, CRR
 16                           FEDERAL OFFICIAL COURT REPORTER

 17
    C



 18
 TE




 19

 20

 21
 O




 22
PR




 23

 24

 25




                                 JMGV00000075
